933 F.2d 1002Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Roy Lee ATKINS, a/k/a Fat Man, Defendant-Appellant.
    No. 90-6933.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 6, 1991.Decided May 23, 1991.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Frank W. Bullock, Jr., District Judge.  (CR-88-81-G, CA-90-161-CV)
      Roy Lee Atkins, appellant pro se.
      Robert Holt Edmunds, Jr., United States Attorney, Greensboro, N.C., for appellee.
      M.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Roy Lee Atkins appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Atkins, CR-88-81-G, CA-90-161-CV (M.D.N.C. Oct. 26, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    